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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 TAMARA JONES,                                        Case No.: 2:21-cv-00311-APG-EJY

 4          Plaintiff                                  Order Denying Motion to Dismiss and
                                                            Motion to Amend as Moot
 5 v.
                                                                 [ECF Nos. 19, 22]
 6 DEPARTMENT OF VETERAN AFFAIRS
   MILWAUKEE FIDUCIARY HUB, et al.,
 7
        Defendants
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 9         In light of the amended complaint (ECF No. 25),

10         I ORDER that the defendants’ motion to dismiss (ECF No. 19) is DENIED as moot

11 because it is directed at the original complaint.

12         I FURTHER ORDER that plaintiff Tamara Jones’s motion to amend (ECF No. 22) is

13 DENIED as moot because she timely filed her first amended complaint as of right under Federal

14 Rule of Civil Procedure 15(a)(1)(B). The first amended complaint (ECF No. 25) is the operative

15 complaint in this matter.

16         DATED this 15th day of November, 2021.

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                                                       ANDREW P. GORDON
                                                       UNITED STATES DISTRICT JUDGE
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